          Case 2:25-cv-02734-SIL                     Document 5          Filed 05/16/25       Page 1 of 1 PageID #: 52

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                        Eastern District of New York

                          Jorie Wach                                    )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 2:25-cv-02734-SIL
                                                                        )
   Jin Massage Therapy, JinYan Liu, John Doe and                        )
                 Maryann Kirkian                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jin Massage Therapy, JinYan Liu , John Doe and Maryann Kirkian
                                           1 Cutter Mill Rd Suite 4
                                           Great Neck, NY 11021




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           David I. Mizrahi, Esq. - Mizrahi Kroub LLP
                                           225 Broadway, 39th Floor
                                           New York, NY 10007




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                   CLERK OF COURT

        5/16/2025
Date:
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